                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION
                                                       x

 A.S., a minor, by his next friends AMY A., mother,
 and JEFF S., father; and A.B., a minor, by her next
 friends JULIE B., mother, and ROSS B., father,

                                   Plaintiffs,              No. 3:21-cv-00600
                           v.                               JUDGE RICHARDSON

 BILL LEE, in his official capacity as Governor of
 Tennessee, et al.,

                                   Defendants.
                                                       x



            STIPULATED BRIEFING SCHEDULE AND [PROPOSED] ORDER

       Pursuant to the Court’s Order dated August 5, 2021 (ECF No. 33) directing the parties to

confer and propose a briefing schedule and potential hearing dates with respect to Plaintiffs’

motion for a preliminary injunction, the parties agree and hereby stipulate to the following:

       1.      Defendants Wilson County Board of Education and Jeff Luttrell, in his official

capacity as Director of the Wilson County Schools (collectively, the “School Defendants”) shall

file an opposition to Plaintiffs’ motion for a preliminary injunction (ECF No. 2) on or before

September 3, 2021;

       2.      Defendants Bill Lee, in his official capacity as Governor of Tennessee, and Herbert

Slatery III, in his official capacity as Attorney General of Tennessee (collectively, the “State

Defendants” and together with the School Defendants, the “Defendants”), having already filed an

opposition to Plaintiffs’ motion for a preliminary injunction (ECF No. 27), shall not file a renewed

response in opposition to Plaintiffs’ motion;




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       3.      Plaintiffs may file a reply to Defendants’ oppositions and in further support of their

motion for a preliminary injunction on or before September 10, 2021. In any such reply, Plaintiffs

will not include any factual averments or other evidence, except they may do so only for the narrow

purpose of rebutting factual averments or other evidence that may be submitted by the School

Defendants;

       4.      The parties agree that an evidentiary hearing is not necessary, and that any such

hearing, as well as any oral argument, should be left to the Court’s discretion; and

       5.      Defendants shall answer or otherwise respond to the Complaint within twenty-one

(21) days of the Court’s order on Plaintiffs’ motion for a preliminary injunction.

Dated: August 19, 2021

Respectfully submitted,

                                [Signatures on the following page]




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JULIE B., mother, and ROSS B., father
                                                      Attorneys for Defendants Bill Lee, in his
                                                      official capacity as Governor of Tennessee,
                                                      and Herbert Slatery III, in his official
                                                      capacity as Attorney General of Tennessee




IT IS SO ORDERED.

Dated: August ____, 2021.


                                             ___________________________________
                                             ELI RICHARDSON
                                             UNITED STATES DISTRICT JUDGE




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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of August, 2021, I served a copy of the forgoing

document via the Court’s CM/ECF Electronic Filing System upon the following Counsel:

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                                                    /s/ Tricia Herzfeld
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